        Case 4:18-cv-00103-BMM Document 41 Filed 04/17/19 Page 1 of 3



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION
STEPHEN C. BULLOCK, in his official
capacity as Governor of Montana;
MONTANA DEPARTMENT OF REVENUE;
STATE OF NEW JERSEY,
                              Plaintiffs,
                  v.
                                              Case No. 4:18-cv-00103-BMM
INTERNAL REVENUE SERVICE;
CHARLES RETTIG, in his official
capacity as Commissioner of the
Internal Revenue Service; UNITED
STATES DEPARTMENT OF THE
TREASURY,
                              Defendants.

                  MOTION FOR SUMMARY JUDGMENT

      Plaintiffs Stephen C. Bullock, the Montana Department of Revenue, and the

State of New Jersey hereby move for summary judgment on Count One of their

Amended Complaint. This motion is supported by the arguments in the plaintiffs’

Combined Brief in Support of Summary Judgment and Response to Motion to

Dismiss, as well as the declarations filed with that brief, all of which will be filed

concurrently with this motion. The plaintiffs have notified the IRS of this motion,

and the IRS plans to oppose the motion.

      For the reasons stated in the Combined Brief, the plaintiffs ask this Court to

issue an order and judgment under 5 U.S.C. § 706(2) that sets aside the IRS’s

Revenue Procedure 2018-38, awards the plaintiffs their costs, attorneys fees, and


                                          1
        Case 4:18-cv-00103-BMM Document 41 Filed 04/17/19 Page 2 of 3



other disbursements for this action, and grants any other relief this Court deems

appropriate.



Dated: April 17, 2019                               Respectfully submitted,



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                                                  and Montana Department of Revenue




                                              2
       Case 4:18-cv-00103-BMM Document 41 Filed 04/17/19 Page 3 of 3




                         CERTIFICATE OF SERVICE

     I hereby certify that on April 17, 2019, I electronically filed the foregoing motion

with the Clerk of the Court using the CM/ECF system. All participants are

registered CM/ECF users and will be served by the CM/ECF system.

                                               /s/ Deepak Gupta
                                               DEEPAK GUPTA
